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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF OKLAHOMA

DELTA LOCUM TENENS, LLC,                                  )
                                                          )
                      Plaintiff,                          )
                                                          )
v.                                                        )      Case No. 5:17-fj-00004-R
                                                          )
CIMARRON COUNTY HEALTH AUTHORITY,                         )
d/b/a CIMARRON MEMORIAL HOSPITAL,                         )
                                                          )
                      Defendant.                          )
                                                          )

               MOTION FOR TEMPORARY RESTRAINING ORDER

        COMES NOW NewLight Healthcare, Inc., and states the following:

     1. On December 6, 2017 NewLight Healthcare, Inc., filed a Motion to Intervene in this

        instant matter [Doc.17]. To date, said motion has not been ruled-upon.

     2. The basis of NewLight’s motion is that NewLight is a secured creditor of Defendant.

        NewLight filed a UCC Financing Statement on November 1, 2016. That security

        interest is superior to the subsequent judgment-lien of Plaintiff.

     3. NewLight secured Oklahoma counsel (the undersigned) as soon as reasonably

        possible after learning that Plaintiff had registered a foreign judgment in this Court

        and had, furthermore, filed a Garnishment Affidavit seeking to garnish the bank

        account of Defendant with First State Bank.

     4. A copy of the motion was served on all parties, including First State Bank, by

        certified mail, by depositing the same in the United States Mail.




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5. On Thursday, December 7, 2017, counsel for Plaintiff, Jacob Kring, contacted and

   emailed the undersigned. The undersigned was on the road to a client consultation

   in Tillman County, Oklahoma. Upon the return trip, that day, the undersigned

   telephoned Mr. Kring. During that telephone conference, the undersigned advised

   Mr. Kring of the following:

      a. That the undersigned’s firm had been retained to file a motion to intervene

         in the garnishment action;

      b. That it appeared that Plaintiff had served First State Bank on November 27,

         2017 with the Garnishment Affidavit, and that NewLight had concerns that

         the Garnishment Affidavit attempted to garnish funds that were, in whole or

         in part, collateral pledged by the November 1, 2016 UCC Financing

         Statement;

      c. That the undersigned filed the Motion to Intervene as soon as possible in

         order to advise all parties of the existence of NewLight’s claim; and,

      d. That the undersigned (i) agreed that additional details should be provided—

         such as whether all, and if not all, what part of the First State Bank account

         is pledged as collateral—and, (ii) would need to discuss with his client more

         specific details; and,

      e. That the undersigned would discuss with his client and that Mr. Kring and

         the undersigned would speak the week of December 11, 2017.




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6. Mr. Kring sent an email following up the telephone conference of December 7,

   2017, providing a proposed agenda for the discussion on the week of December 11,

   2017. See Exhibit 1.

7. The undersigned had deposition most of the day December 11, 2017, so the

   undersigned planned to discuss details with his client on December 12, 2017.

8. On December 11, 2017, in the morning, the undersigned was advised by NewLight

   that First State Bank had now had transferred out of Defendant’s account the amount

   of the garnishment.

9. Shortly after learning about the transfer of funds, prior to his deposition in an

   unrelated matter on December 11, 2017, the undersigned contacted Mr. Kring to

   advise that money had been moved. Mr. Kring advised that he was not aware of the

   transfer.    The undersigned stated that he understood that Mr. Kring’s client

   requested additional details about the nature and extent of the secured transaction

   and, furthermore, that the undersigned would be speaking to his client on Tuesday,

   December 12, 2017 to learn those details. During this telephone conference, the

   undersigned requested that, to the extent Plaintiff received funds, to hold such funds

   pending resolution of this issue. Absent an agreement, the undersigned advised he

   would have to seek a restraining order. Mr. Kring requested that the undersigned

   send an email for him to pass along to his client, which the undersigned did. See

   Exhibit 2.

10. After receipt of the undersigned’s email making the request for Plaintiff to hold

   funds received, Mr. Kring responded with an email stating he needed additional

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       information before making any decisions. Mr. Kring also stated that he was not sure

       “how the alternative of sending a Sheriff to start seizing assets would be better for

       your client or Cimarron.” See Exhibit 3.

   11. At a break during the deposition on December 11, the undersigned again stated that

       he agreed to provide information, but (i) NewLight had a duly filed security interest

       in funds, (ii) we had received word bank had transferred funds already, (iii) that my

       clients needed to reach a provisional agreement about holding funds or my client

       needed to file for relief with the Court. See Exhibit 4.

   12. Mr. Kring responded to the email by again demanding answers now (to questions

       that the Mr. Kring knew the undersigned would be discussing with his client

       tomorrow). See Exhibit 5.

                           ARGUMENT AND AUTHORITY

       Plaintiff was aware on December 6, 2017 of the claim by NewLight that it had a

security interest in and to “accounts receivable and proceeds therefrom” of the Defendant.

Monies held by First State Bank (the garnishee) in whole or in part are pledged as security.

This security interest, granted by a promissory note, and evidenced by a UCC Financing

Statement filed November 1, 2016, is prior and superior to Plaintiff’s judgment lien.

       Upon learning that First State Bank had thereafter transferred certain funds, the

undersigned attempted to reach a reasonable provisional agreement with Plaintiff with

regard to any funds Plaintiff received in order to avoid seeking a restraining order. The

factual history described above indicate that possibility.        However, this afternoon

(December 11, 2017), NewLight’s counsel learned that Plaintiff was reluctant to make such

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a provisional agreement. Therefore, since First State Bank has transferred monies pledged

(and monies being highly liquid), it is urgent that NewLight obtain provisional relief in the

form of a restraining order.

       It is possible that in the next several days, much of this will be moot, given that the

undersigned plans to conference with his client and, furthermore, conference with

Plaintiff’s counsel. Unfortunately, given the nature of the collateral seized (monies which

is highly liquid), NewLight felt it had little choice than to file this instant motion after

making a good faith attempt to reach an agreement. For this reason, NewLight requests

that the Court enter an order temporarily restraining the use of the garnished funds until

such time as the issues raised in the Motion to Intervene are resolved by the Court.

NewLight also requests and expedited hearing on this issue.

       WHEREFORE, premises considered, NewLight Healthcare, Inc., prays that the

Court grant the relief requested in this Motion.

                                           Respectfully submitted,

                                           /s/Brandon Powell Wilson
                                           Brandon Powell Wilson, OBA No. 19599
                                           WHITWORTH, WILSON & EVANS, PLLC
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                                           Edmond, OK 73013
                                           405-415-4222        Telephone
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                                           brandon@wwefirm.com
                                           clint@wwefirm.com
                                           Attorneys for Intervenor
                                           NewLight Healthcare, LLC




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                                 Certificate of Service

      The undersigned certifies that a true and correct copy of the foregoing was served
on December 11, 2017, as follows:

Via Notice of Electronic Filing
Lori Sander, OBA No. 16577
Jacob B. Kring, Tex. No. 24062831

Via United States Mail
Lori A. Sander
Felker, Sander & Associates, P.C.
3934 NW 36th Street
Oklahoma City, Oklahoma 73112

Jacob B. Krieg
Hedrick Kring, PLLC
1700 Pacific Avenue, 4650
Dallas, Texas 75201

First State Bank
ATTN: Cerita Walker
20 SW Square
Boise City, Oklahoma 73933

Cimarron County Health Authority
PO Box 1059
Boise City, OK 73933

                                               /s/Brandon Powell Wilson




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